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              Exhibit “A”
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hiQ Labs, Inc. v. LinkedIn Corporation, 938 F.3d 985 (2019)
19 Cal. Daily Op. Serv. 8975, 2019 Daily Journal D.A.R. 8698



                                                                       Affirmed and remanded.

    KeyCite Yellow Flag - Negative Treatment                           Wallace, Senior Circuit Judge, filed specially concurring
Distinguished by CALSOFT LABS, INC., et al., Plaintiffs, v.            opinion.
VENKATA PANCHUMARTHI, et al., Defendants. Additional Party
Names: PVR Technologies, Inc., Truinfo Technologies, Inc., N.D.Cal.,
January 31, 2020                                                       Procedural Posture(s):       On    Appeal;    Motion     for
                       938 F.3d 985                                    Preliminary Injunction.
       United States Court of Appeals, Ninth Circuit.

            HIQ LABS, INC., Plaintiff-Appellee,
                           v.                                           West Headnotes (26)
          LINKEDIN CORPORATION, Defendant-
                       Appellant.                                      [1]
                                                                               Injunction
                        No. 17-16783                                             Grounds in general; multiple factors
                              |
          Argued and Submitted March 15, 2018 San                              Plaintiff seeking a preliminary injunction must
                    Francisco, California                                      establish that he is likely to succeed on the
                              |                                                merits, that he is likely to suffer irreparable
                  Filed September 9, 2019                                      harm in the absence of preliminary relief, that
                                                                               the balance of equities tips in his favor, and that
                                                                               an injunction is in the public interest; all four
                                                                               elements must be satisfied.
Synopsis
Background: Data analytics company brought action
against operator of professional networking website,
seeking declaratory judgment that operator could not
lawfully invoke Computer Fraud and Abuse Act (CFAA),
Digital Millennium Copyright Act (DMCA), or common
law of trespass against it. The United States District Court           [2]
                                                                               Injunction
for the Northern District of California, Edward M. Chen,                         Balancing or weighing factors; sliding scale
J.,   273 F.Supp.3d 1099, granted company’s motion for                         Injunction
preliminary injunction. Operator appealed.                                       Serious or substantial question on merits
                                                                               Injunction
                                                                                 Balancing or weighing hardship or injury

Holdings: The Court of Appeals, Berzon, Circuit Judge,                         Court uses a sliding scale approach to
held that:                                                                     preliminary injunction factors, according to
                                                                               which a stronger showing of one element may
[1]
      company established likelihood of irreparable harm;                      offset a weaker showing of another; so, when
                                                                               the balance of hardships tips sharply in the
[2]
      balance of equities supported preliminary injunction;                    plaintiff’s favor, the plaintiff need demonstrate
                                                                               only serious questions going to the merits.
[3]
   company raised serious questions going to merits of
claim for tortious interference with contract;
[4]
   company raised serious questions as to whether
operator could invoke CFAA to preempt claim; and
                                                                       [3]
[5]
      public interest favored preliminary injunction.                          Federal Courts
                                                                                 Preliminary injunction; temporary restraining

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        order                                                          Injury to or restraint of trade or business in
                                                                     general
        Appellate court reviews the district court’s
        decision to grant a preliminary injunction for               Loss of an ongoing business representing many
        abuse of discretion.                                         years of effort and the livelihood of its owners
                                                                     constitutes irreparable harm, as required for
                                                                     preliminary injunction; what plaintiff stands to
                                                                     lose cannot be fully compensated by subsequent
                                                                     monetary damages.

[4]
        Injunction                                                   2 Cases that cite this headnote
          Abuse of discretion

        Grant of a preliminary injunction constitutes an
        abuse of discretion if the district court’s
                                                               [8]
        evaluation or balancing of the pertinent factors             Injunction
        is illogical, implausible, or without support in               Injury to or restraint of trade or business in
        the record.                                                  general

                                                                     Showing a threat of “extinction” of business is
                                                                     enough to establish irreparable harm, as required
                                                                     for preliminary injunction, even when damages
                                                                     may be available and the amount of direct
                                                                     financial harm is ascertainable.
[5]
        Injunction
          Irreparable injury
                                                                     1 Cases that cite this headnote
        Monetary injury is not normally considered
        irreparable, as required for preliminary
        injunction.
                                                               [9]
                                                                     Declaratory Judgment
        1 Cases that cite this headnote                                Preliminary injunction or other relief

                                                                     Data analytics company established likelihood
                                                                     of irreparable harm in absence of injunctive
                                                                     relief, supporting preliminary injunction
[6]
        Injunction                                                   forbidding operator of professional networking
          Injury to or restraint of trade or business in             website from denying company access to
        general                                                      publicly available member profiles, in
                                                                     company’s action seeking declaratory judgment
        Threat of being driven out of business is                    that it had not violated state or federal law;
        sufficient to establish irreparable harm, as                 company’s entire business depended on being
        required for preliminary injunction.                         able to access public member profiles, as there
                                                                     was no viable alternative to member database to
                                                                     obtain data for company’s workforce data
        1 Cases that cite this headnote                              services, and without access to public profile
                                                                     data, company would likely be forced to breach
                                                                     existing contracts with clients and to pass up
                                                                     pending deals with prospective clients.
[7]
        Injunction

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                                                                      Under California law, tortious interference with
                                                                      contract claims are not limited to circumstances
                                                                      in which the defendant has caused the third
                                                                      party with whom the plaintiff has contracted to
[10]
        Declaratory Judgment                                          breach the agreement.
          Preliminary injunction or other relief

        Balance of equities supported preliminary
        injunction forbidding operator of professional
        networking website from denying data analytics
        company access to publicly available member
                                                               [13]
        profiles, in company’s action seeking                         Torts
        declaratory judgment that it had not violated                   Contracts
        state or federal law; even if some users retained
        some privacy interests in their information                   Under California law, the most general
        notwithstanding their decision to make their                  application of tortious interference with contract
        profiles public, those interests, and operator’s              is to cases where the party with whom the
        interest in preventing company from scraping                  plaintiff has entered into an agreement has been
        those profiles, were not significant enough to                induced to breach it, but the rule is also
        outweigh company’s interest in continuing its                 applicable where the plaintiff’s performance has
        business, which depended on accessing,                        been prevented or rendered more expensive or
        analyzing, and communicating information                      burdensome and where he has been induced to
        derived from public profiles.                                 breach the contract by conduct of the defendant,
                                                                      such as threats of economic reprisals.




[11]
        Torts
                                                               [14]
          Contracts                                                   Torts
                                                                        Defense, justification or privilege in general
        Under California law, the elements which a
        plaintiff must plead to state the cause of action             Under California law, a legitimate business
        for intentional interference with contractual                 purpose can indeed justify interference with
        relations are (1) a valid contract between                    contract, but not just any such purpose suffices.
        plaintiff and a third party; (2) defendant’s
        knowledge of this contract; (3) defendant’s
        intentional acts designed to induce a breach or
        disruption of the contractual relationship; (4)
        actual breach or disruption of the contractual
        relationship; and (5) resulting damage.                [15]
                                                                      Torts
                                                                        Contracts
        1 Cases that cite this headnote
                                                                      For purposes of tortious interference with
                                                                      contract, where a contractual relationship exists,
                                                                      the societal interest in contractual stability is
                                                                      generally accepted as of greater importance than
[12]
        Torts                                                         competitive freedom.
          Contracts

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                                                                      involve no more than recognized trade practices,
        1 Cases that cite this headnote                               and whether the conduct is within the realm of
                                                                      fair competition.


[16]
        Torts
          Competition
                                                               [19]
        Under California law, interference with an                    Torts
        existing contract is not justified simply because               Defense, justification or privilege in general
        a competitor seeks to further his own economic
        advantage at the expense of another; rather,                  Under California law, for purposes of legitimate
        interference with contract is justified only when             business purpose defense to claim for tortious
        the party alleged to have interfered acted to                 interference with contract, determinative
        protect an interest that has greater social value             question is whether the business interest is
        than insuring the stability of the contract                   pretextual or asserted in good faith.
        interfered with.




                                                               [20]
                                                                      Declaratory Judgment
[17]
        Torts                                                           Preliminary injunction or other relief
          Defense, justification or privilege in general
                                                                      Data analytics company raised serious questions
        Under California law, whether an intentional                  going to merits of professional networking
        interference with contract by a third party is                website operator’s legitimate business purpose
        justifiable depends upon a balancing of the                   defense to claim for tortious interference with
        importance, social and private, of the objective              contract under California law, supporting
        advanced by the interference against the                      preliminary injunction forbidding operator from
        importance of the interest interfered with,                   denying company access to publicly available
        considering all circumstances including the                   member profiles; company had strong
        nature of the actor’s conduct and the relationship            commercial interest in fulfilling its contractual
        between the parties.                                          obligations to large clients, operator’s means of
                                                                      interference was likely not recognized trade
                                                                      practice, operator’s conduct might not have been
                                                                      within realm of fair competition, and operator’s
                                                                      asserted private business interests in protecting
                                                                      members’ data and investment made in
[18]
                                                                      developing its platform and enforcing user
        Torts                                                         agreements’ prohibitions on automated scraping
          Defense, justification or privilege in general              were relatively weak.
        Torts
          Competition
                                                                      1 Cases that cite this headnote
        California courts apply a balancing test to
        determine whether the interests advanced by
        interference with contract outweigh the societal
        interest in contractual stability: considerations
                                                               [21]
        include whether the means of interference                     Torts

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          Competition                                                 contract under California law, supporting
                                                                      preliminary injunction forbidding operator from
        Under California law, for purposes of legitimate              denying company access to publicly available
        business purpose defense to claim for tortious                member profiles; company raised serious
        interference with contract, recognized trade                  question as to whether reference to access
        practices include such activities as advertising,             “without authorization” limited scope of
        price-cutting, and hiring the employees of                    statutory coverage to computer information for
        another for use in the hirer’s business, all                  which authorization or access permission was
        practices which may indirectly interfere with a               generally required, and data company sought to
        competitor’s contracts but do not fundamentally               access was not owned by operator and had not
        undermine a competitor’s basic business model.                been demarcated by operator as private using
                                                                      such authorization system.        18 U.S.C.A. §
                                                                      1030(a)(2).


                                                                      1 Cases that cite this headnote
[22]
        Contracts
          Partial Illegality

        Under California law, if the central purpose of        [25]
                                                                      Injunction
        the contract is tainted with illegality, then the               Equitable considerations in general
        contract as a whole cannot be enforced. Cal.                  Injunction
        Civ. Code § 1598.                                               Public interest considerations
                                                                      Injunction
                                                                        Injury or inconvenience to third persons

                                                                      Whereas the balance of equities focuses on the
                                                                      parties, the public interest inquiry primarily
[23]                                                                  addresses impact on non-parties rather than
        Statutes
                                                                      parties, and takes into consideration the public
          Purpose and intent; determination thereof                   consequences in employing the extraordinary
        Statutes                                                      remedy of injunction.
          Plain, literal, or clear meaning; ambiguity

        If a statute’s terms are ambiguous, court may
        use legislative history and the statute’s overall
        purpose to illuminate Congress’s intent.

                                                               [26]
                                                                      Declaratory Judgment
                                                                        Preliminary injunction or other relief

                                                                      Public interest favored preliminary injunction
[24]                                                                  forbidding operator of professional networking
        Declaratory Judgment
                                                                      website from denying data analytics company
          Preliminary injunction or other relief
                                                                      access to publicly available member profiles, in
                                                                      company’s action seeking declaratory judgment
        Data analytics company raised serious questions
                                                                      that it had not violated state or federal law,
        as to whether operator of professional                        although operator and public had substantial
        networking website could invoke Computer                      interest in thwarting denial-of-service attacks
        Fraud and Abuse Act (CFAA) to preempt                         and blocking abusive users, identity thieves, and
        company’s claim for tortious interference with                other ill-intentioned actors; giving operator free

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        reign to decide, on any basis, who could collect       Francisco, California, for Amici Curiae Electronic
        and use data that operator did not own, that it        Frontier Foundation, DuckDuckGo, and Internet Archive.
        made publicly available to viewers, and that
        operator itself collected and used, risked             Kenneth L. Wilton and James M. Harris, Seyfarth Shaw
        possible creation of information monopolies that       LLP, Los Angeles, California; Carrie P. Price, Seyfarth
        would disserve public interest.                        Shaw LLP, San Francisco, California; for Amicus Curiae
                                                               Scraping Hub Ltd.

                                                               Appeal from the United States District Court for the
                                                               Northern District of California Edward M. Chen, District
                                                               Judge, Presiding, D.C. No. 3:17-cv-03301-EMC

                                                               Before: J. Clifford Wallace and Marsha S. Berzon, Circuit
Attorneys and Law Firms                                        Judges, and Terrence Berg,* District Judge.

*988 Donald B. Verrilli Jr. (argued) and Chad I. Golder,
Munger Tolles & Olson LLP, Washington, D.C.;
Jonathan H. Blavin, Rosemarie T. Ring, Nicholas D.             Concurrence by Judge Wallace
Fram, and Elia Herrera, Munger Tolles & Olson LLP, San
Francisco, California; E. Joshua Rosenkranz, Orrick
Herrington & Sutcliffe LLP, New York, New York; Eric           OPINION
A. Shumsky, Orrick Herrington & Sutcliffe LLP,
Washington, D.C.; Brian P. Goldman, Orrick Herrington          BERZON, Circuit Judge:
& Sutcliffe LLP, San Francisco, California; for
Defendant-Appellant.                                           *989 May LinkedIn, the professional networking website,
                                                               prevent a competitor, hiQ, from collecting and using
C. Brandon Wisoff (argued), Deepak Gupta, Jeffrey G.           information that LinkedIn users have shared on their
Lau, and Rebecca H. Stephens, Farella Braun & Martel           public profiles, available for viewing by anyone with a
LLP, San Francisco, California; Aaron M. Panner,               web browser? HiQ, a data analytics company, obtained a
Gregory G. Rapawy, and T. Dietrich Hill, Kellogg               preliminary injunction forbidding LinkedIn from denying
Hansen Todd Figel & Frederick PLLC, Washington,                hiQ access to publicly available LinkedIn member
D.C.; Laurence H. Tribe, Cambridge, Massachusetts; for         profiles. At this preliminary injunction stage, we do not
Plaintiff-Appellee.                                            resolve the companies’ legal dispute definitively, nor do
                                                               we address all the claims and defenses they have pleaded
Nicholas J. Boyle, John S. Williams, and Eric J.               in the district court. Instead, we focus on whether hiQ has
Hamilton, Williams & Connolly LLP, Washington, D.C.,           raised serious questions on the merits of the factual and
for Amicus Curiae CoStar Group Inc.                            legal issues presented to us, as well as on the other
                                                               requisites for preliminary relief.
Perry J. Viscounty, Latham & Watkins LLP, San
Francisco, California; Gregory G. Garre, Latham &
Watkins LLP, Washington, D.C.; for Amicus Curiae
Craigslist Inc.                                                I.
                                                               Founded in 2002, LinkedIn is a professional networking
Marc Rotenberg and Alan Butler, Electronic Privacy             website with over 500 million members. Members post
Information Center, Washington, D.C., for Amicus Curiae        resumes and job listings and build professional
Electronic Privacy Information Center.                         “connections” with other members. LinkedIn *990
                                                               specifically disclaims ownership of the information users
Thomas V. Christopher, Law Offices of Thomas V.                post to their personal profiles: according to LinkedIn’s
Christopher, San Francisco, California, for Amicus Curiae      User Agreement, members own the content and
3taps Inc.                                                     information they submit or post to LinkedIn and grant
                                                               LinkedIn only a non-exclusive license to “use, copy,
Jamie Williams, Corynne McSherry, Cindy Cohn, and              modify, distribute, publish, and process” that information.
Nathan Cardozo, Electronic Frontier Foundation, San

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LinkedIn allows its members to choose among various            business clients.
privacy settings. Members can specify which portions of
their profile are visible to the general public (that is, to   HiQ offers two such analytics. The first, Keeper, purports
both LinkedIn members and nonmembers), and which               to identify employees at the greatest risk of being
portions are visible only to direct connections, to the        recruited away. According to hiQ, the product enables
member’s “network” (consisting of LinkedIn members             employers to offer career development opportunities,
within three degrees of connectivity), or to all LinkedIn      retention bonuses, or other perks to retain valuable
members.1 This case deals only with profiles made visible      employees. The second, Skill Mapper, summarizes
to the general public.                                         employees’ skills in the aggregate. Among other things,
                                                               the tool is supposed to help employers identify skill gaps
LinkedIn also offers all members—whatever their profile        in their workforces so that they can offer internal training
privacy settings—a “Do Not Broadcast” option with              in those areas, promoting internal mobility and reducing
respect to every change they make to their profiles. If a      the expense of external recruitment.
LinkedIn member selects this option, her connections will
not be notified when she updates her profile information,      HiQ regularly organizes “Elevate” conferences, during
although the updated information will still appear on her      which participants discuss hiQ’s business model and
profile page (and thus be visible to anyone permitted to       share best practices in the people analytics field. LinkedIn
view her profile under her general privacy setting). More      representatives participated in Elevate conferences
than 50 million LinkedIn members have, at some point,          beginning in October 2015. At least ten LinkedIn
elected to employ the “Do Not Broadcast” feature, and          representatives attended the conferences. LinkedIn
approximately 20 percent of all active users who updated       employees have also spoken at Elevate conferences. In
their profiles between July 2016 and July 2017—                2016, a LinkedIn employee was awarded the Elevate
whatever their privacy setting—employed the “Do Not            “Impact Award.” LinkedIn employees thus had an
Broadcast” setting.                                            opportunity to learn about hiQ’s products, including “that
                                                               [one of] hiQ’s product[s] used data from a variety of
LinkedIn has taken steps to protect the data on its website    sources—internal and external—to predict employee
from what it perceives as misuse or misappropriation. The      attrition” and that hiQ “collected skills data from public
instructions in LinkedIn’s “robots.txt” file—a text file       professional profiles in order to provide hiQ’s customers
used by website owners to communicate with search              information about their employees’ skill sets.”
engine crawlers and other web robots—prohibit access to
LinkedIn servers via automated bots, except that certain       In recent years, LinkedIn has explored ways to capitalize
entities, like the Google search engine, have express          on the vast amounts of data contained in LinkedIn profiles
permission from LinkedIn for bot access.2 LinkedIn also        by marketing new products. In June 2017, LinkedIn’s
employs several technological systems to detect                Chief Executive Officer (“CEO”), Jeff Weiner, appearing
suspicious activity and restrict automated *991 scraping.3     on CBS, explained that LinkedIn hoped to “leverage *992
For example, LinkedIn’s Quicksand system detects non-          all this extraordinary data we’ve been able to collect by
human activity indicative of scraping; its Sentinel system     virtue of having 500 million people join the site.” Weiner
throttles (slows or limits) or even blocks activity from       mentioned as possibilities providing employers with data-
suspicious IP addresses;4 and its Org Block system             driven insights about what skills they will need to grow
generates a list of known “bad” IP addresses serving as        and where they can find employees with those skills.
large-scale scrapers. In total, LinkedIn blocks                Since then, LinkedIn has announced a new product,
approximately 95 million automated attempts to scrape          Talent Insights, which analyzes LinkedIn data to provide
data every day, and has restricted over 11 million             companies with such data-driven information.6
accounts suspected of violating its User Agreement,5
including through scraping.                                    In May 2017, LinkedIn sent hiQ a cease-and-desist letter,
                                                               asserting that hiQ was in violation of LinkedIn’s User
HiQ is a data analytics company founded in 2012. Using         Agreement and demanding that hiQ stop accessing and
automated bots, it scrapes information that LinkedIn users     copying data from LinkedIn’s server. The letter stated that
have included on public LinkedIn profiles, including           if hiQ accessed LinkedIn’s data in the future, it would be
name, job title, work history, and skills. It then uses that   violating state and federal law, including the Computer
information, along with a proprietary predictive               Fraud and Abuse Act (“CFAA”), the Digital Millennium
algorithm, to yield “people analytics,” which it sells to      Copyright Act (“DMCA”), California Penal Code §
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502(c), and the California common law of trespass. The          of a preliminary injunction constitutes an abuse of
letter further stated that LinkedIn had “implemented            discretion if the district court’s evaluation or balancing of
technical measures to prevent hiQ from accessing, and           the pertinent factors is “illogical, implausible, or without
assisting others to access, LinkedIn’s site, through            support in the record.” Doe v. Kelly, 878 F.3d 710, 713
systems that detect, monitor, and block scraping activity.”     (9th Cir. 2017).

HiQ’s response was to demand that LinkedIn recognize
hiQ’s right to access LinkedIn’s public pages and to
threaten to seek an injunction if LinkedIn refused. A week      A. Irreparable Harm
later, hiQ filed suit, seeking injunctive relief based on       We begin with the likelihood of irreparable injury to hiQ
California law and a declaratory judgment that LinkedIn         if preliminary relief were not granted.
could not lawfully invoke the CFAA, the DMCA,
                                                                [5] [6] [7] [8]
California Penal Code § 502(c), or the common law of                              “[M]onetary injury is not normally considered
trespass against it. HiQ also filed a request for a             irreparable.”    Los Angeles Mem’l Coliseum Comm’n v.
temporary restraining order, which the parties                  Nat’l Football League, 634 F.2d 1197, 1202 (9th Cir.
subsequently agreed to convert into a motion for a              1980). Nonetheless, “[t]he threat of being driven out of
preliminary injunction.                                         business is sufficient to establish irreparable harm.” Am.
                                                                Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d
The district court granted hiQ’s motion. It ordered             1470, 1474 (9th Cir. 1985). As the Second Circuit has
LinkedIn to withdraw its cease-and-desist letter, to            explained, “[t]he loss of ... an ongoing business
remove any existing technical barriers to hiQ’s access to       representing many years of effort and the livelihood of its
public profiles, and to refrain from putting in place any       ... owners, constitutes irreparable harm. What plaintiff
legal or technical measures with the effect of blocking         stands to lose cannot be fully compensated by subsequent
hiQ’s access to public profiles. LinkedIn timely appealed.
                                                                monetary       damages.”        Roso–Lino        Beverage
                                                                Distributors, Inc. v. Coca–Cola Bottling Co. of New York,
                                                                Inc., 749 F.2d 124, 125–26 (2d Cir. 1984) (per curiam).
II.                                                             Thus, showing a threat of “extinction” is enough to
[1] [2]
     “A plaintiff seeking a preliminary injunction must         establish irreparable harm, even when damages may be
establish that he is likely to succeed on the merits, that he   available and the amount of direct financial harm is
is likely to suffer irreparable harm in the absence of          ascertainable. Am. Passage Media Corp., 750 F.2d at
preliminary relief, that the balance of equities tips in his    1474.
favor, and that an injunction is in the public interest.”       [9]
                                                                  The district court found credible hiQ’s assertion that the
   Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20,      survival of its business is threatened absent a preliminary
129 S.Ct. 365, 172 L.Ed.2d 249 (2008). All four elements        injunction. The record provides ample support for that
must be satisfied. See, e.g., Am. Trucking Ass’n v. City        finding.
of Los Angeles, 559 F.3d 1046, 1057 (9th Cir. 2009). We
use a “sliding scale” approach to these factors, according      According to hiQ’s CEO, “hiQ’s entire business depends
to which “a stronger showing of one element may offset a        on being able to access public LinkedIn member
weaker showing of another.”       Alliance for the Wild         profiles,” as “there is no current viable alternative to
Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).       LinkedIn’s member database to obtain data for hiQ’s
So, when the balance of hardships tips sharply in the           Keeper and Skill Mapper services.” Without access to
plaintiff’s favor, the plaintiff need demonstrate only          LinkedIn public profile data, the CEO averred, hiQ will
                                                                likely be forced to breach its existing contracts with
“serious questions going to the merits.”     Id. at 1135.       clients such as eBay, Capital One, and GoDaddy, and to
[3] [4]                                                         pass up pending deals with prospective clients. The harm
      Applying that sliding scale approach, the district        hiQ faces absent a preliminary injunction is not purely
court granted hiQ a preliminary injunction, concluding          hypothetical. HiQ was in the middle of a financing round
that the *993 balance of hardships tips sharply in hiQ’s        when it received LinkedIn’s cease-and-desist letter. The
favor and that hiQ raised serious questions on the merits.      CEO reported that, in light of the uncertainty about the
We review the district court’s decision to grant a              future viability of hiQ’s business, that financing round
preliminary injunction for abuse of discretion. The grant
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stalled, and several employees left the company. If              puts at risk the goodwill LinkedIn has developed with its
LinkedIn prevails, hiQ’s CEO further asserted, hiQ would         members. As the district court observed, “the fact that a
have to “lay off most if not all its employees, and shutter      user has set his profile to public does not imply that he
its operations.”                                                 wants any third parties to collect and use that data for all
                                                                 purposes.” LinkedIn points in particular to the more than
LinkedIn maintains that hiQ’s business model does not            50 million members who have used the “Do Not
depend on access to LinkedIn data. It insists that               Broadcast” feature to ensure that other users are not
alternatives to LinkedIn data exist, and points in particular    notified when the member makes a profile change.
to the professional data some users post on Facebook. But        According to LinkedIn, the popularity of the “Do Not
hiQ’s model depends on access to publicly available data         Broadcast” feature indicates that many members—
from people who choose to share their information with           including members who choose to share their information
the world. Facebook data, by contrast, is not generally          publicly—do not want their employers to know they may
accessible, see infra p. 1002, and therefore is not an           be searching for a new job. An employer who learns that
equivalent alternative source of data.                           an employee may be planning to leave will not
                                                                 necessarily reward that employee with a retention bonus.
LinkedIn also urges that even if there is no adequate            Instead, the employer could decide to limit the
alternative database, hiQ could collect its own data             employee’s access to sensitive information or even to
through employee surveys. But hiQ is a data analytics            terminate the employee.
company, not a data collection company. Suggesting that
hiQ could fundamentally change the nature of its                 There is support in the record for the district court’s
business, not simply the manner in which it conducts its         connected conclusions that (1) LinkedIn’s assertions have
current business, is a recognition that hiQ’s current            some merit; and (2) there are reasons to discount them to
business could not survive without access to LinkedIn            some extent. First, there is little evidence that LinkedIn
public profile data. Creating a data collection system *994      users who choose to make their profiles public actually
would undoubtedly require a considerable amount of time          maintain an expectation of privacy with respect to the
and expense. That hiQ could feasibly remain in business          information that they post publicly, and it is doubtful that
with no products to sell while raising the required capital      they do. LinkedIn’s privacy policy clearly states that
and devising and implementing an entirely new data               “[a]ny information you put on your profile and any
collection system is at least highly dubious.                    content you post on LinkedIn may be seen by others” and
                                                                 instructs users not to “post or add personal data to your
In short, the district court did not abuse its discretion in     profile that you would not want to be public.”
concluding on the preliminary injunction record that hiQ
currently has no viable way to remain in business other          Second, there is no evidence in the record to suggest that
than using LinkedIn public profile data for its Keeper and       most people who select the “Do Not Broadcast” option do
Skill Mapper services, and that HiQ therefore has                so to prevent their employers from being alerted to profile
demonstrated a likelihood of irreparable harm absent a           changes made in anticipation of a job search. As the
preliminary injunction.                                          district court noted, there are other reasons why users may
                                                                 choose that option—most notably, many users may
                                                                 simply wish to avoid sending their connections annoying
                                                                 notifications each time there is a profile change. In any
B. Balance of the Equities                                       event, employers can always directly consult the profiles
[10]
     Next, the district court “balance[d] the interests of all   of users who chose to make their profiles public to see if
parties and weigh[ed] the damage to each in determining          any recent changes have been made. Employees intent on
the balance of the equities.” CTIA-The Wireless Ass’n v.         keeping such information from their employers can do so
City of Berkeley, Calif., 928 F.3d 832, 852 (9th Cir. 2019)      by rejecting public exposure of their profiles and
(internal quotation marks and citation omitted). Again, it       eliminating their employers as contacts.
did not abuse its discretion in doing so.
                                                                 Finally, LinkedIn’s own actions undercut its argument
On one side of the scale is the harm to hiQ just discussed:      that users have an expectation *995 of privacy in public
the likelihood that, without an injunction, it will go out of    profiles. LinkedIn’s “Recruiter” product enables recruiters
business. On the other side, LinkedIn asserts that the           to “follow” prospects, get “alert[ed] when prospects make
injunction threatens its members’ privacy and therefore          changes to their profiles,” and “use those [alerts] as
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signals to reach out at just the right moment,” without the    prove meritorious. Thus, while hiQ advanced several
prospect’s knowledge.7 And subscribers to LinkedIn’s           affirmative claims in support of its request for preliminary
“talent recruiting, marketing and sales solutions” can         injunctive relief, here we consider only whether hiQ has
export data from members’ public profiles, such as             raised serious questions on the merits of its claims either
“name, headline, current company, current title, and           for intentional interference with contract or unfair
location.”                                                     competition, under California’s Unfair Competition Law,
                                                                  Cal. Bus. & Prof. Code § 17200 et seq. Likewise,
In short, even if some users retain some privacy interests     while LinkedIn has asserted that it has “claims under the
in their information notwithstanding their decision to         Digital Millennium Copyright Act and under trespass and
make their profiles public, we cannot, on the record           misappropriation doctrines,” it has chosen for present
before us, conclude that those interests—or more               purposes to focus on a defense based on the CFAA, so
specifically, LinkedIn’s interest in preventing hiQ from       that is the sole defense to hiQ’s claims that we address
scraping those profiles—are significant enough to              here.
outweigh hiQ’s interest in continuing its business, which
depends on accessing, analyzing, and communicating
information derived from public LinkedIn profiles.
                                                               1. Tortious Interference with Contract
Nor do the other harms asserted by LinkedIn tip the            [11] [12] [13]
                                                                              HiQ alleges that LinkedIn intentionally
balance of harms with regard to preliminary relief.            interfered with hiQ’s contracts with third parties. “The
LinkedIn invokes an interest in preventing “free riders”       elements which a *996 plaintiff must plead to state the
from using profiles posted on its platform. But LinkedIn       cause of action for intentional interference with
has no protected property interest in the data contributed     contractual relations are (1) a valid contract between
by its users, as the users retain ownership over their         plaintiff and a third party; (2) defendant’s knowledge of
profiles. And as to the publicly available profiles, the       this contract; (3) defendant’s intentional acts designed to
users quite evidently intend them to be accessed by            induce a breach or disruption of the contractual
others, including for commercial purposes—for example,         relationship; (4) actual breach or disruption of the
by employers seeking to hire individuals with certain          contractual relationship; and (5) resulting damage.”
credentials. Of course, LinkedIn could satisfy its “free
                                                                  Pac. Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal.
rider” concern by eliminating the public access option,
                                                               3d 1118, 1126, 270 Cal.Rptr. 1, 791 P.2d 587 (1990).8
albeit at a cost to the preferences of many users and,
possibly, to its own bottom line.
                                                               HiQ has shown a sufficient likelihood of establishing each
                                                               of these elements. First, LinkedIn does not contest hiQ’s
We conclude that the district court’s determination that
                                                               evidence that contracts exist between hiQ and some
the balance of hardships tips sharply in hiQ’s favor is not
                                                               customers, including eBay, Capital One, and GoDaddy.
“illogical, implausible, or without support in the record.”
Kelly, 878 F.3d at 713.
                                                               Second, hiQ will likely be able to establish that LinkedIn
                                                               knew of hiQ’s scraping activity and products for some
                                                               time. LinkedIn began sending representatives to hiQ’s
C. Likelihood of Success                                       Elevate conferences in October 2015. At those
Because hiQ has established that the balance of hardships      conferences, hiQ discussed its business model, including
tips decidedly in its favor, the likelihood-of-success prong   its use of data from external sources to predict employee
of the preliminary injunction inquiry focuses on whether       attrition. LinkedIn’s director of business operations and
hiQ has raised “serious questions going to the merits.”        analytics, who attended several Elevate conferences,
                                                               specifically “recall[s] someone from hiQ stating [at the
   Alliance for the Wild Rockies, 632 F.3d at 1131. It has.    April 2017 conference] that they collected skills data from
                                                               public professional profiles in order to provide hiQ’s
As usual, we consider only the claims and defenses that        customers information about their employees’ skill sets.”
the parties press on appeal. We recognize that the             Additionally, LinkedIn acknowledged in its cease-and-
companies have invoked additional claims and defenses          desist letter that “hiQ has stated during marketing
in the district court, and we express no opinion as to         presentations that its Skill Mapper product is built on
whether any of those claims or defenses might ultimately       profile data from LinkedIn.” Finally, at a minimum,

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LinkedIn knew of hiQ’s contracts as of May 31, 2017,           been interfered with by the defendant,” the California
when hiQ responded to LinkedIn’s cease-and-desist letter       Supreme Court instructs that we must “bring[ ] a greater
and identified both current and prospective hiQ clients.       solicitude to those relationships that have ripened into
                                                               agreements.”        Della Penna v. Toyota Motor Sales,
Third, LinkedIn’s threats to invoke the CFAA and               U.S.A., Inc., 11 Cal. 4th 376, 392, 45 Cal.Rptr.2d 436,
implementation of technical measures selectively to ban        902 P.2d 740 (1995). Thus, interference with an existing
hiQ bots could well constitute “intentional acts designed      contract is not justified simply because a competitor
to induce a breach or disruption” of hiQ’s contractual         “seeks to further his own economic advantage at the
relationships with third parties. Pac. Gas & Elec. Co.,        expense of another.”         Imperial Ice, 18 Cal. 2d at 36,
50 Cal. 3d at 1126, 270 Cal.Rptr. 1, 791 P.2d 587; cf.
                                                               112 P.2d 631; see       id. at 37, 112 P.2d 631 (“A party
   Winchester Mystery House, LLC v. Global Asylum,             may not ... under the guise of competition ... induce the
Inc., 210 Cal. App. 4th 579, 597, 148 Cal.Rptr.3d 412          breach of a competitor’s contract in order to secure an
(2012) (indicating that “cease-and-desist letters ...          economic advantage.”). Rather, interference with contract
refer[ring] to a[ ] contractual or other economic              is justified only when the party alleged to have interfered
relationship between plaintiff and any third party” could      acted “to protect an interest that has greater social value
“establish ... the ... intent element[ ] of the interference   than insuring the stability of the contract” interfered with.
claim[ ]”).
                                                                   Id. at 35, 112 P.2d 631.
Fourth, the contractual relationships between hiQ and          [17] [18] [19]
third parties have been disrupted and “now hang[ ] in the                Accordingly, California courts apply a balancing
balance.” Without access to LinkedIn data, hiQ will likely     test to determine whether the interests advanced by
be unable to deliver its services to its existing customers    interference with contract outweigh the societal interest in
as promised.                                                   contractual stability:

Last, hiQ is harmed by the disruption to its existing
contracts and interference with *997 its pending contracts.                     Whether an intentional interference
Without the revenue from sale of its products, hiQ will                         by a third party is justifiable
likely go out of business. See supra pp. 992–94.                                depends upon a balancing of the
                                                                                importance, social and private, of
LinkedIn does not specifically challenge hiQ’s ability to                       the objective advanced by the
make out any of these elements of a tortious interference                       interference against the importance
claim. Instead, LinkedIn maintains that it has a                                of the interest interfered with,
“legitimate business purpose” defense to any such claim.                        considering    all    circumstances
Cf.    Quelimane Co. v. Stewart Title Guar. Co., 19 Cal.                        including the nature of the actor’s
4th 26, 57, 77 Cal.Rptr.2d 709, 960 P.2d 513 (1998), as                         conduct and the relationship
modified (Sept. 23, 1998). That contention is an                                between the parties.
affirmative justification defense for which LinkedIn bears
the burden of proof. See    id.
[14] [15] [16]                                                    Herron v. State Farm Mut. Ins. Co., 56 Cal. 2d 202,
          Under California law, a legitimate business
                                                               206, 14 Cal.Rptr. 294, 363 P.2d 310 (1961).
purpose can indeed justify interference with contract, but
                                                               Considerations include whether “the means of
not just any such purpose suffices. See    id. at 55–56, 77    interference involve no more than recognized trade
Cal.Rptr.2d 709, 960 P.2d 513. Where a contractual
                                                               practices,”  Buxbom v. Smith, 23 Cal. 2d 535, 546, 145
relationship exists, the societal interest in “contractual
                                                               P.2d 305 (1944), and whether the conduct is “within the
stability is generally accepted as of greater importance
                                                               realm of fair competition,”         Inst. of Veterinary
than competitive freedom.”          Imperial Ice Co. v.
                                                               Pathology, Inc. v. Cal. Health Labs., Inc., 116 Cal. App.
Rossier, 18 Cal. 2d 33, 36, 112 P.2d 631 (1941).
                                                               3d 111, 127, 172 Cal.Rptr. 74 (Cal. Ct. App. 1981). The
Emphasizing the “distinction between claims for the
                                                               “determinative question” is whether the business interest
tortious disruption of an existing contract and claims that
a prospective contractual or economic relationship has         is pretextual or “asserted in good faith.”      Richardson v.

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La Rancherita, 98 Cal. App. 3d 73, 81, 159 Cal.Rptr. 285        Finally, LinkedIn’s asserted private business interests—
(Cal. Ct. App. 1979).                                           “protecting its members’ data and the investment made in
                                                                developing its platform” and “enforcing its User
[20]
   Balancing the interest in contractual stability and the      Agreements’ prohibitions on automated scraping”—are
specific interests interfered with against the interests        relatively weak. LinkedIn has only a non-exclusive
advanced by the interference, we agree with the district        license to the data shared on its platform, not an
court that hiQ has at least raised a serious question on the    ownership interest. Its core business model—providing a
merits of LinkedIn’s affirmative justification defense.         platform to share professional information—does not
First, hiQ has a strong commercial interest in fulfilling its   require prohibiting hiQ’s use of that information, as
contractual obligations to large clients like eBay and          evidenced by the fact that hiQ used LinkedIn data for
Capital One. Those companies benefit from *998 hiQ’s            some time before LinkedIn sent its cease-and-desist letter.
ability to access, aggregate, and analyze data from             As to its members’ interests in their data, for the reasons
LinkedIn profiles.                                              already explained, see supra pp. 994–95, we agree with
                                                                the district court that members’ privacy expectations
[21]
   Second, LinkedIn’s means of interference is likely not       regarding information they have shared in their public
a “recognized trade practice” as California courts have         profiles are “uncertain at best.” Further, there is evidence
understood that term. “Recognized trade practices”              that LinkedIn has itself developed a data analytics tool
include such activities as “advertising,” “price-cutting,”      similar to HiQ’s products, undermining LinkedIn’s claim
and “hir[ing] the employees of another for use in the           that it has its members’ privacy interests in mind. Finally,
hirer’s business,”     Buxbom, 23 Cal. 2d at 546–47, 145        LinkedIn has not explained how it can enforce its user
P.2d 305—all practices which may indirectly interfere           agreement against hiQ now that its user status has been
with a competitor’s contracts but do not fundamentally          terminated.
undermine a competitor’s basic business model.                  [22]
LinkedIn’s proactive technical measures to selectively             For all these reasons, LinkedIn may well not be able to
block hiQ’s access to the data on its site are not similar to   demonstrate a “legitimate business purpose” that could
trade practices heretofore recognized as acceptable             *999 justify the intentional inducement of a contract
justifications for contract interference.                       breach, at least on the record now before us. We therefore
                                                                conclude that hiQ has raised at least serious questions
Further, LinkedIn’s conduct may well not be “within the         going to the merits of its tortious interference with
                                                                contract claim. As that showing on the tortious
realm of fair competition.”          Inst. of Veterinary        interference claim is sufficient to support an injunction
Pathology, 116 Cal. App. 3d at 127, 172 Cal.Rptr. 74.           prohibiting LinkedIn from selectively blocking hiQ’s
HiQ has raised serious questions about whether                  access to public member profiles, we do not reach hiQ’s
LinkedIn’s actions to ban hiQ’s bots were taken in              unfair competition claim.10
furtherance of LinkedIn’s own plans to introduce a
competing professional data analytics tool. There is
evidence from which it can be inferred that LinkedIn
knew about hiQ and its reliance on external data for            2. Computer Fraud and Abuse Act (CFAA)
several years before the present controversy. Its decision      Our inquiry does not end, however, with the state law
to send a cease-and-desist letter occurred within a month       tortious interference claim. LinkedIn argues that even if
of the announcement by LinkedIn’s CEO that LinkedIn             hiQ can show a likelihood of success on any of its state
planned to leverage the data on its platform to create a        law causes of action, all those causes of action are
new product for employers with some similarities to hiQ’s       preempted by the Computer Fraud and Abuse Act
Skill Mapper product. If companies like LinkedIn, whose
servers hold vast amounts of public data, are permitted         (“CFAA”),       18 U.S.C. § 1030, which LinkedIn asserts
selectively to ban only potential competitors from              that hiQ violated.
accessing and using that otherwise public data, the
result—complete exclusion of the original innovator in          The CFAA states that “[w]hoever ... intentionally
aggregating and analyzing the public information—may            accesses a computer without authorization or exceeds
                                                                authorized access, and thereby obtains ... information
well be considered unfair competition under California
                                                                from any protected computer ... shall be punished” by fine
law.9
                                                                or imprisonment.      18 U.S.C. § 1030(a)(2)(C). Further,

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“[a]ny person who suffers damage or loss by reason of a        First, the wording of the statute, forbidding “access[ ] ...
violation” of that provision may bring a civil suit “against   without authorization,”       18 U.S.C. § 1030(a)(2),
the violator to obtain compensatory damages and                suggests a baseline in which access is not generally
injunctive relief or other equitable relief,” subject to       available and so permission is ordinarily required.
certain conditions not relevant here.   18 U.S.C. §            “Authorization” is an affirmative notion, indicating that
1030(g). The term “protected computer” refers to any           access is restricted to those specially recognized or
computer “used in or affecting interstate or foreign           admitted. See, e.g., Black’s Law Dictionary (10th ed.
commerce or communication,”          18 U.S.C. §               2014) (defining “authorization” as “[o]fficial permission
1030(e)(2)(B)—effectively any computer connected to            to do something; sanction or warrant”). Where the default
                                                               is free access without authorization, in ordinary parlance
the Internet, see        United States v. Nosal (Nosal II),    one would characterize selective denial of access as a ban,
844 F.3d 1024, 1050 (9th Cir. 2016), cert. denied, –––
U.S. ––––, 138 S. Ct. 314, 199 L.Ed.2d 207 (2017)—             not as a lack of “authorization.” Cf.      Blankenhorn v.
including servers, computers that manage network               City of Orange, 485 F.3d 463, 472 (9th Cir. 2007)
resources and provide data to other computers. LinkedIn’s      (characterizing the exclusion of the plaintiff in particular
computer servers store the data members share on               from a shopping mall as “bann[ing]”).
LinkedIn’s platform and provide that data to users who         [23]
request to visit its website. Thus, to scrape LinkedIn data,      Second, even if this interpretation is debatable, the
hiQ must access LinkedIn servers, which are “protected         legislative history of the statute confirms our
                                                               understanding. “If [a] statute’s terms are ambiguous, we
computer[s].” See        Nosal II, 844 F.3d at 1050.           may use ... legislative history[ ] and the statute’s overall
The pivotal CFAA question here is whether once hiQ             purpose to illuminate Congress’s intent.”  Jonah R. v.
received LinkedIn’s cease-and-desist letter, any further       Carmona, 446 F.3d 1000, 1005 (9th Cir. 2006).
scraping and use of LinkedIn’s data was “without
authorization” within the meaning of the CFAA and thus         The CFAA was enacted to prevent intentional intrusion
                                                               onto someone else’s computer—specifically, computer
a violation of the statute.   18 U.S.C. § 1030(a)(2). If so,
hiQ could have no legal right of access to LinkedIn’s data     hacking. See   United States v. Nosal (Nosal I), 676 F.3d
and so could not succeed on any of its state law claims,       854, 858 (9th Cir. 2012) (citing S. Rep. No. 99-432, at 9
including the tortious interference with contract claim we     (1986) (Conf. Rep.)).
have held otherwise sufficient for preliminary injunction
purposes.                                                      The 1984 House Report on the CFAA explicitly
                                                               analogized the conduct prohibited by       section 1030 to
We have held in another context that the phrase “ ‘without     forced entry: “It is noteworthy that    section 1030 deals
authorization’ is a non-technical term that, given its plain   with an ‘unauthorized access’ concept of computer fraud
and ordinary meaning, means accessing a protected              rather than the mere use of a computer. Thus, the conduct
computer without permission.”             *1000 Nosal II,      prohibited is analogous to that of ‘breaking and entering’
844 F.3d at 1028.      Nosal II involved an employee           ....’ ” H.R. Rep. No. 98-894, at 20 (1984); see also id. at
accessing without permission an employer’s private             10 (describing the problem of “ ‘hackers’ who have been
computer for which access permissions in the form of           able to access (trespass into) both private and public
                                                               computer systems”). Senator Jeremiah Denton similarly
user accounts were required.             Id. at 1028–29.       characterized the CFAA as a statute designed to prevent
       Nosal II did not address whether access can be          unlawful intrusion into otherwise inaccessible computers,
“without authorization” under the CFAA where, as here,         observing that “[t]he bill makes it clear that unauthorized
prior authorization is not generally required, but a           access to a Government computer is a trespass offense, as
particular person—or bot—is refused access. HiQ’s              surely as if the offender had entered a restricted
position is that         Nosal II is consistent with the       Government compound without proper authorization.”11
conclusion that where access is open to the general public,    132 Cong. Rec. 27639 (1986) (emphasis added). And
the CFAA “without authorization” concept is                    when considering amendments to the CFAA two years
inapplicable. At the very least, we conclude, hiQ has          later, the House again linked computer intrusion to
raised a serious question as to this issue.                    breaking and entering. See H.R. Rep. No. 99-612, at 5–
                                                               6H.R. Rep. No. 99-612, at 5–6 (1986) (describing “the
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expanding group of electronic trespassers,” who trespass       through use of a permission requirement of some sort. As
“just as much as if they broke a window and crawled into       one prominent commentator has put it, “an authentication
a home while the occupants were away”).                        requirement, such as a password gate, is needed to create
                                                               the necessary barrier that divides open spaces from closed
In recognizing that the CFAA is best understood as an          spaces on the Web.” Orin S. Kerr, Norms of Computer
anti-intrusion statute and not as a “misappropriation          Trespass, 116 Colum. L. Rev. 1143, 1161 (2016).
statute,”   Nosal I, 676 F.3d at 857–58, we rejected the       Moreover, elsewhere in the statute, password fraud is
contract-based interpretation of the CFAA’s “without           cited as a means by which a computer may be accessed
authorization” provision adopted by some of our sister         without authorization, see      18 U.S.C. § 1030(a)(6),12
circuits. *1001 Compare        Facebook, Inc. v. Power         bolstering the idea that authorization is only required for
Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir. 2016), cert.     password-protected sites or sites that otherwise prevent
denied, ––– U.S. ––––, 138 S. Ct. 313, 199 L.Ed.2d 206         the general public from viewing the information.
(2017) (“[A] violation of the terms of use of a website—       [24]
without more—cannot establish liability under the                 We therefore conclude that hiQ has raised a serious
                                                               question as to whether the reference to access “without
CFAA.”);      Nosal I, 676 F.3d at 862 (“We remain             authorization” limits the scope of the statutory coverage
unpersuaded by the decisions of our sister circuits that       to computer information for which authorization or access
interpret the CFAA broadly to cover violations of              permission, such as password authentication, is generally
corporate computer use restrictions or violations of a duty    required. Put differently, the CFAA contemplates the
of loyalty.”), with   EF Cultural Travel BV v. Explorica,      existence of three kinds of computer information: (1)
Inc., 274 F.3d 577, 583–84 (1st Cir. 2001) (holding that       information for which access is open to the general public
violations of a confidentiality agreement or other             and permission is not required, (2) information for which
contractual restraints could give rise to a claim for          authorization is required and has been given, and (3)
unauthorized access under the CFAA);       United States v.    information for which authorization is required but has
Rodriguez, 628 F.3d 1258, 1263 (11th Cir. 2010) (holding       not been given (or, in the case of the prohibition *1002 on
that a defendant “exceeds authorized access” when              exceeding authorized access, has not been given for the
violating policies governing authorized use of databases).     part of the system accessed). Public LinkedIn profiles,
                                                               available to anyone with an Internet connection, fall into
We therefore look to whether the conduct at issue is           the first category. With regard to such information, the
analogous to “breaking and entering.” H.R. Rep. No. 98-        “breaking and entering” analogue invoked so frequently
894, at 20. Significantly, the version of the CFAA initially   during congressional consideration has no application,
enacted in 1984 was limited to a narrow range of               and the concept of “without authorization” is inapt.
computers—namely, those containing national security
information or financial data and those operated by or on      Neither of the cases LinkedIn principally relies upon is to
behalf of the government. See Counterfeit Access Device        the contrary. LinkedIn first cites Nosal II, 844 F.3d
and Computer Fraud and Abuse Act of 1984, Pub. L. No.          1024 (9th Cir. 2016). As we have already stated,
98-473, § 2102, 98 Stat. 2190, 2190–91. None of the                  Nosal II held that a former employee who used
computers to which the CFAA initially applied were             current employees’ login credentials to access company
accessible to the general public; affirmative authorization    computers and collect confidential information had acted
of some kind was presumptively required.                       “ ‘without authorization’ in violation of the CFAA.”
                                                                      Nosal II, 844 F.3d at 1038. The computer
When      section 1030(a)(2)(c) was added in 1996 to
extend the prohibition on unauthorized access to any           information the defendant accessed in Nosal II was
“protected computer,” the Senate Judiciary Committee           thus plainly one which no one could access without
explained that the amendment was designed to “to               authorization.
increase protection for the privacy and confidentiality of
computer information.” S. Rep. No. 104-357, at 7               So too with regard to the system at issue in   Power
(emphasis added). The legislative history of     section       Ventures, 844 F.3d 1058 (9th Cir. 2016), the other
1030 thus makes clear that the prohibition on                  precedent upon which LinkedIn relies. In that case,
unauthorized access is properly understood to apply only       Facebook sued Power Ventures, a social networking
to private information—information delineated as private       website that aggregated social networking information
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from multiple platforms, for accessing Facebook users’         shall be punished ....”). “The similarity of language in [the
data and using that data to send mass messages as part of      SCA and the CFAA] is a strong indication that [they]
a promotional campaign.        Id. at 1062–63. After           should be interpreted pari passu.”    Northcross v. Bd. of
Facebook sent a cease-and-desist letter, Power Ventures        Educ. of Memphis City Schools, 412 U.S. 427, 428, 93
continued to circumvent IP barriers and gain access to         S.Ct. 2201, 37 L.Ed.2d 48 (1973); see also United States
password-protected Facebook member profiles.   Id. at          v. Sioux, 362 F.3d 1241, 1246 (9th Cir. 2004).
1063. We held that after receiving an individualized
cease-and-desist letter, Power Ventures had accessed           Addressing the “without authorization” provision of the
Facebook computers “without authorization” and was             SCA, we have distinguished between public websites and
                                                               non-public or “restricted” websites, such as websites that
therefore liable under the CFAA.       Id. at 1067–68. But     “are password-protected ... or require the user to purchase
we specifically recognized that “Facebook has tried to
limit and control access to its website” as to the purposes    access by entering a credit card number.”  Konop v.
                                                               Hawaiian Airlines, Inc., 302 F.3d 868, 875 (9th Cir.
for which Power Ventures sought to use it. Id. at 1063.
Indeed, Facebook requires its users to register with a         2002); see also      id. at 879 n.8. As we explained in
unique username and password, and Power Ventures                  Konop, in enacting the SCA, “Congress wanted to
required that Facebook users provide their Facebook            protect electronic communications that are configured to
username and password to access their Facebook data on         be private” and are “ ‘not intended to be available to the
Power Ventures’ platform.       Facebook, Inc. v. Power        public.’ ”     Id. at 875 (quoting S. Rep. No. 99-541, at
Ventures, Inc., 844 F. Supp. 2d 1025, 1028 (N.D. Cal.          35–36 (1986)). The House Committee on the Judiciary
2012). While Power Ventures was gathering user data that       stated, with respect to the section of the SCA at issue,
was protected by Facebook’s username and password              section 2701, that “[a] person may reasonably conclude
authentication system, the data hiQ was scraping was           that a communication is readily accessible to the general
available to anyone with a web browser.                        public if the ... means of access are widely known, and if
                                                               a person does not, in the course of gaining access,
In sum,         Nosal II and      Power Ventures control       encounter any warnings, encryptions, password requests,
situations in which authorization generally is required and    or other indicia of intended privacy.” H.R. Rep. No. 99-
has either never been given or has been revoked. As            647, at 62H.R. Rep. No. 99-647, at 62 (1986). The
                                                               Committee        further   explained    that    “electronic
   Power Ventures indicated, the two cases do not control      communications which the service provider attempts to
the situation present here, in which information is            keep confidential would be protected, while the statute
“presumptively open to all comers.”      Power Ventures,       would impose no liability for access to features
844 F.3d at 1067 n.2.                                          configured to be readily accessible to the general public.”
                                                               Id. at 63.
Our understanding that the CFAA is premised on a
distinction between information presumptively accessible       Both the legislative history of section 1030 of the CFAA
to the general public and information for which                and the legislative history of section 2701 of the SCA,
authorization is generally required is consistent with our     with its similar “without authorization” provision, then,
interpretation of a provision of the Stored                    support the district court’s distinction between “private”
Communications Act (“SCA”), 18 U.S.C. § 2701 et seq.,13        computer networks and websites, protected by a password
nearly identical to the CFAA provision at issue. Compare       authentication system and “not visible to the public,” and
18 U.S.C. § 2701(a) (“[W]hoever—(1) intentionally              websites that are accessible to the general public.
accesses without authorization a facility through which an
electronic communication service is provided; or (2)           Finally, the rule of lenity favors our narrow interpretation
intentionally exceeds an authorization to access that          of the “without authorization” provision in the CFAA.
facility; and thereby obtains ... unauthorized access to a     The statutory prohibition on unauthorized access applies
wire or electronic *1003 communication ... shall be            both to civil actions and to criminal prosecutions—
punished ....”) with       18 U.S.C. § 1030(a)(2)(C)           indeed, “    § 1030 is primarily a criminal statute.”
(“Whoever ... intentionally accesses a computer without           LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1134
authorization or exceeds authorized access, and thereby        (9th Cir. 2009). “Because we must interpret the statute
obtains ... information from any protected computer ...        consistently, whether we encounter its application in a
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criminal or noncriminal context, the rule of lenity                 own position would benefit the public interest by
applies.”   Leocal v. Ashcroft, 543 U.S. 1, 11 n.8, 125             maximizing the free flow of information on the Internet.
S.Ct. 377, 160 L.Ed.2d 271 (2004). As we explained in               HiQ points out that data scraping is a common method of
                                                                    gathering information, used by search engines, academic
   Nosal I, we therefore favor a narrow interpretation of           researchers, and many others. According to *1005 hiQ,
the CFAA’s “without authorization” provision so as not to           letting established entities that already have accumulated
turn a criminal hacking statute into a “sweeping Internet-          large user data sets decide who can scrape that data from
policing mandate.”          Nosal I, 676 F.3d at 858; see also      otherwise public websites gives those entities outsized
       id. at 863.                                                  control over how such data may be put to use.

For all these reasons, it appears that the CFAA’s                   For its part, LinkedIn argues that the preliminary
prohibition on accessing a computer “without                        injunction is against the public interest because it will
authorization” is violated when a person circumvents a              invite malicious actors to access LinkedIn’s computers
computer’s generally applicable rules regarding access              and attack its servers. As a result, the argument goes,
permissions, such as username and password                          LinkedIn and other companies with public websites will
requirements, to gain access to a computer. It is likely that       be forced to choose between leaving their servers open to
when a computer network generally permits public access             such attacks or protecting their websites with passwords,
to its data, a user’s accessing that publicly available data        thereby cutting them off from public view.
will not constitute access without authorization under the
CFAA. The data hiQ seeks to access is not owned by                  Although there are significant public interests on both
LinkedIn and has not been demarcated by LinkedIn as                 sides, the district court properly determined that, on
private using such an authorization *1004 system. HiQ               balance, the public interest favors hiQ’s position. We
has therefore raised serious questions about whether                agree with the district court that giving companies like
LinkedIn may invoke the CFAA to preempt hiQ’s                       LinkedIn free rein to decide, on any basis, who can collect
possibly meritorious tortious interference claim.14                 and use data—data that the companies do not own, that
                                                                    they otherwise make publicly available to viewers, and
We note that entities that view themselves as victims of            that the companies themselves collect and use—risks the
data scraping are not without resort, even if the CFAA              possible creation of information monopolies that would
does not apply: state law trespass to chattels claims may           disserve the public interest.
still be available.15 And other causes of action, such as
copyright     infringement,    misappropriation,    unjust          Internet companies and the public do have a substantial
enrichment, conversion, breach of contract, or breach of            interest in thwarting denial-of-service attacks16 and
                                                                    blocking abusive users, identity thieves, and other ill-
privacy, may also lie. See, e.g.,       Associated Press v.
                                                                    intentioned actors. But we do not view the district court’s
Meltwater U.S. Holdings, Inc., 931 F. Supp. 2d 537, 561
                                                                    injunction as opening the door to such malicious activity.
(S.D.N.Y. 2013) (holding that a software company’s
                                                                    The district court made clear that the injunction does not
conduct in scraping and aggregating copyrighted news
                                                                    preclude LinkedIn from continuing to engage in
articles was not protected by fair use).
                                                                    “technological self-help” against bad actors—for
                                                                    example, by employing “anti-bot measures to prevent,
                                                                    e.g., harmful intrusions or attacks on its server.” Although
D. Public Interest                                                  an injunction preventing a company from securing even
[25]
     Finally, we must consider the public interest in               the public parts of its website from malicious actors
granting or denying the preliminary injunction. Whereas             would raise serious concerns, such concerns are not
the balance of equities focuses on the parties, “[t]he              present here.17
public interest inquiry primarily addresses impact on non-
parties rather than parties,” and takes into consideration          The district court’s conclusion that the public interest
“the public consequences in employing the extraordinary             favors granting the preliminary injunction was
remedy of injunction.” Bernhardt v. Los Angeles Cty., 339           appropriate.
F.3d 920, 931–32 (9th Cir. 2003) (citations omitted).
[26]
       As the district court observed, each side asserts that its
                                                                    CONCLUSION
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We AFFIRM the district court’s determination that hiQ                  “because the fully developed factual record may be
has established the elements required for a preliminary                materially different from that initially before the district
injunction and remand for further proceedings.                         court.” Id.

                                                                       The district court here also stayed any effort to prepare
                                                                       the case for trial pending the appeal of the preliminary
                                                                       injunction. We have repeatedly admonished district courts
WALLACE, Circuit Judge, specially concurring:                          not to delay trial preparation to await an interim ruling on
                                                                       a preliminary injunction. See, e.g.,      California, 911
I concur in the majority opinion. I write separately to                F.3d at 583–84. This case could have well proceeded to a
express my concern that “in some cases, parties appeal                 disposition on the merits without the delay in processing
orders granting or denying motions for preliminary
                                                                       the interlocutory appeal. Given the purported urgency of
injunctions in order to ascertain the views of the appellate
                                                                       the case’s resolution, the parties might “have been better
court on the merits of the litigation.” Sports Form, Inc. v.
                                                                       served to pursue aggressively” its claims in the district
United Press Int’l, Inc., 686 F.2d 750, 753 (9th Cir.
                                                                       court, “rather than apparently awaiting the outcome of
1982); see also     California v. Azar, 911 F.3d 558, 583–
                                                                       this appeal” for nearly two years.        Id. at 584 (citation
84 (9th Cir. 2018). For example, here LinkedIn’s counsel
                                                                       omitted).
suggested that we should address the CFAA question in
this appeal for “pragmatic reason[s]” because it “is going
to be a significant issue on remand no matter what                     All Citations
happens to this injunction.”
                                                                       938 F.3d 985, 19 Cal. Daily Op. Serv. 8975, 2019 Daily
I emphasize that appealing from a preliminary injunction               Journal D.A.R. 8698
to obtain an appellate court’s view of the merits often
leads to “unnecessary delay to the parties and inefficient
use of judicial resources.” Sports Form, 686 F.2d at 753.
These appeals generally provide “little guidance” because
“of *1006 the limited scope of our review of the law” and

Footnotes

*      The Honorable Terrence Berg, United States District Judge for the Eastern District of Michigan, sitting by designation.


1      Direct connections (or first-degree connections) are people to whom a LinkedIn member is connected by virtue of having
       invited them to connect and had the invitation accepted, or of having accepted their invitation to connect. Second-degree
       connections are people connected to a member’s first-degree connections. Third-degree connections are people connected
       to a member’s second-degree connections. A LinkedIn member’s network consists of the member’s first-degree, second-
       degree, and third-degree connections, as well as fellow members of the same LinkedIn Groups (groups of members in the
       same industry or with similar interests that any member can request to join).

2      A web robot (or “bot”) is an application that performs automated tasks such as retrieving and analyzing information. See
       Definition of “bot,” Merriam-Webster Dictionary, https://www.merriamwebster.com/dictionary/bot (last visited July 12,
       2019). A web crawler is one common type of bot that systematically searches the Internet and downloads copies of web
       pages, which can then be indexed by a search engine. See          Assoc. Press v. Meltwater U.S. Holdings, Inc., 931 F. Supp. 2d
       537, 544 (S.D.N.Y. 2013); Definition of “web crawler,” Merriam-Webster Dictionary, https://www.merriam-
       webster.com/dictionary/web% 20crawler (last visited July 12, 2019). A robots.txt file, also known as the robots exclusion
       protocol, is a widely used standard for stating the rules that a web server has adopted to govern a bot’s behavior on that
       server. See About /robots.txt, http://www.robotstxt.org/robotstxt.html (last visited July 12, 2019). For example, a robots.txt
       file might instruct specified robots to ignore certain files when crawling a site, so that the files do not appear in search
       engine results. Adherence to the rules in a robots.txt file is voluntary; malicious bots may deliberately choose not to honor
       robots.txt rules and may in turn be punished with a denial of access to the website in question. See Can I Block Just Bad
       Robots?, http://www.robotstxt.org/faq/blockjustbad.html (last visited July 12, 2019); cf.       Assoc. Press, 931 F. Supp. 2d at

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       563 (S.D.N.Y. 2013).

3      Scraping involves extracting data from a website and copying it into a structured format, allowing for data manipulation or
       analysis. See, e.g., What Is a Screen Scraper?, WiseGeek, http://www.wisegeek.com/what-is-a-screen-scraper.htm (last
       visited July 12, 2019). Scraping can be done manually, but as in this case, it is typically done by a web robot or “bot.” See
       supra note 2.

4      “IP address” is an abbreviation for Internet protocol address, which is a numerical identifier for each computer or network
       connected to the Internet. See Definition of “IP Address,” Merriam-Webster Dictionary, https://www.merriam-
       webster.com/dictionary/IP% 20address (last visited July 12, 2019).

5      Section 8.2 of the LinkedIn User Agreement to which hiQ agreed states that users agree not to “[s]crape or copy profiles and
       information of others through any means (including crawlers, browser plugins and add-ons, and any other technology or
       manual work),” “[c]opy or use the information, content or data on LinkedIn in connection with a competitive service (as
       determined by LinkedIn),” “[u]se manual or automated software, devices, scripts robots, other means or processes to
       access, ‘scrape,’ ‘crawl’ or ‘spider’ the Services or any related data or information,” or “[u]se bots or other automated
       methods to access the Services.” HiQ is no longer bound by the User Agreement, as LinkedIn has terminated hiQ’s user
       status.

6      The record does not specifically name Talent Insights, but at a district court hearing on June 29, 2017, counsel for hiQ
       referenced Mr. Weiner’s statements on CBS and stated that “in the past 24 hours we’ve received word ... that LinkedIn is
       launching a product that is essentially the same or very similar to [hiQ’s] Skill Mapper, and trying to market it head-to-head
       against us.” LinkedIn has since launched Talent Insights, which, among other things, promises to help employers
       “understand the ... skills that are growing fastest at your company.” See https://business.linkedin.com/talent-
       solutions/blog/product-updates/2018/linkedin-talent-insights-now-available (last visited July 12, 2019).

7      Recruiter does not provide alerts about profile changes made by LinkedIn members who select the “Do Not Broadcast”
       setting.

8      Under California law, tortious interference with contract claims are not limited to circumstances in which the defendant
       has caused the third party with whom the plaintiff has contracted to breach the agreement. “The most general application
       of the rule is to cases where the party with whom the plaintiff has entered into an agreement has been induced to breach it,
       but the rule is also applicable where the plaintiff’s performance has been prevented or rendered more expensive or
       burdensome and where he has been induced to breach the contract by conduct of the defendant, such as threats of
       economic reprisals.”     Lipman v. Brisbane Elementary Sch. Dist., 55 Cal. 2d 224, 232, 11 Cal.Rptr. 97, 359 P.2d 465 (1961),
       abrogated on other grounds by      Brown v. Kelly Broadcasting Co., 48 Cal. 3d 711, 753 n.37, 257 Cal.Rptr. 708, 771 P.2d 406
       (1989); see also     Pac. Gas & Elec. Co., 50 Cal. 3d at 1129, 270 Cal.Rptr. 1, 791 P.2d 587 (“We have recognized that
       interference with the plaintiff’s performance may give rise to a claim for interference with contractual relations if plaintiff’s
       performance is made more costly or more burdensome.”).

9      The district court determined that LinkedIn’s legitimate business purpose defense overlapped with hiQ’s claim under
       California’s Unfair Competition Law (“UCL”), which the district court found raised serious questions on the merits: “hiQ has
       presented some evidence supporting its assertion that LinkedIn’s decision to revoke hiQ’s access to its data was made for
       the purpose of eliminating hiQ as a competitor in the data analytics field, and thus potentially ‘violates [the UCL].’ ”

10     LinkedIn also advances a business interest in “asserting its rights under federal and state law.” That interest depends upon
       the scope of LinkedIn’s rights under the CFAA and California’s CFAA analogue, California Penal Code § 502. Similarly,
       LinkedIn argues that there can be no tortious interference because hiQ’s contracts are premised on unauthorized access to
       LinkedIn data and are therefore illegal. Under California law, “[i]f the central purpose of the contract is tainted with
       illegality, then the contract as a whole cannot be enforced.”      Marathon Entm’t, Inc. v. Blasi, 42 Cal. 4th 974, 996, 70
       Cal.Rptr.3d 727, 174 P.3d 741 (2008), as modified (Mar. 12, 2008); see also Cal. Civ. Code § 1598 (“Where a contract has but
       a single object, and such object is unlawful, whether in whole or in part, or wholly impossible of performance ... the entire
       contract is void.”). As we explain next, however, hiQ has raised at least serious questions in support of its position that its
       activities are lawful under the CFAA.


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11     The CFAA originally prohibited only unauthorized access to government computers.


12
           18 U.S.C. § 1030(a)(6) provides: “Whoever ... knowingly and with intent to defraud traffics ... in any password or similar
       information through which a computer may be accessed without authorization, if—(A) such trafficking affects interstate or
       foreign commerce; or (B) such computer is used by or for the Government of the United States; ... shall be punished as
       provided in subsection (c) of this section.”

13     The Stored Communications Act, enacted as part of the Electronic Communications Privacy Act of 1986, Pub. L. No. 99-508,
       100 Stat. 1848, provides privacy protections for e-mail and other electronic communications by limiting the ability of the
       government to compel disclosure by internet service providers.

14     LinkedIn asserts that the illegality of hiQ’s actions under the CFAA is also grounds for holding (1) that hiQ’s injuries are not
       cognizable as irreparable harm, (2) that hiQ’s contracts are illegal and so their breach cannot give rise to a cognizable
       tortious interference with contract claim, and (3) that LinkedIn has a legitimate business interest in asserting its rights
       under federal law that justifies its interference with hiQ’s contracts. See supra n.10. These contentions are insufficient at
       this stage for the same reasons LinkedIn’s CFAA preemption position does not preclude preliminary injunctive relief.

15     LinkedIn’s cease-and-desist letter also asserted a state common law claim of trespass to chattels. Although we do not
       decide the question, see supra pp. 995–96, it may be that web scraping exceeding the scope of the website owner’s consent
       gives rise to a common law tort claim for trespass to chattels, at least when it causes demonstrable harm. Compare      eBay,
       Inc. v. Bidder’s Edge, Inc., 100 F. Supp. 2d 1058, 1070 (N.D. Cal. 2000) (finding that eBay had established a likelihood of
       success on its trespass claim against the auction-aggregating site Bidder’s Edge because, although eBay’s “site is publicly
       accessible,” “eBay’s servers are private property, conditional access to which eBay grants the public,” and Bidder’s Edge had
       exceeded the scope of any consent, even if it did not cause physical harm); Register.com, Inc. v. Verio, Inc., 356 F.3d 393,
       437–38 (2d Cir. 2004) (holding that a company that scraped a competitor’s website to obtain data for marketing purposes
       likely committed trespass to chattels, because scraping could—although it did not yet—cause physical harm to the
       plaintiff’s computer servers);     Sw. Airlines Co. v. FareChase, Inc., 318 F. Supp. 2d 435, 442 (N.D. Tex. 2004) (holding that
       the use of a scraper to glean flight information was unauthorized as it interfered with Southwest’s use and possession of its
       site, even if the scraping did not cause physical harm or deprivation), with   Ticketmaster Corp. v. Tickets.Com, Inc., No.
       2:99-cv-07654-HLH-VBK, 2003 WL 21406289, at *3 (C.D. Cal. Mar. 7, 2003) (holding that the use of a web crawler to gather
       information from a public website, without more, is insufficient to fulfill the harm requirement of a trespass action);
          Intel Corp. v. Hamidi, 30 Cal. 4th 1342, 1364, 1 Cal.Rptr.3d 32, 71 P.3d 296 (2003) (holding that “trespass to chattels is
       not actionable if it does not involve actual or threatened injury” to property and the defendant’s actions did not damage or
       interfere with the operation of the computer systems at issue).

16     In a denial-of-service (DoS) attack, an attacker seeks to prevent legitimate users from accessing a targeted computer or
       network, typically by flooding the target with requests and thereby overloading the server.

17     We note that LinkedIn has not specifically challenged the scope of the injunction.




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